 Case 1:06-cr-00210-GJQ           ECF No. 79, PageID.199             Filed 12/20/06   Page 1 of 2




                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                  Case No. 1:06-cr-00210
                                    )
v.                                  )                  Honorable Gordon J. Quist
                                    )
SIRMEDRA LASHA,                     )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on December 19, 2006, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Sirmedra Lasha entered a plea of guilty to Count 23 of the Superseding

Indictment, charging defendant with conspiracy to commit money laundering in violation of 18

U.S.C. § 1956(h), in exchange for the undertakings made by the government in the written plea

agreement. The plea agreement also includes defendant’s agreement to waive all rights and interests

she may have in the property listed in Counts 24 and 25 (Forfeiture Allegation). On the basis of the

record made at the hearing, I find that defendant is fully capable and competent to enter an informed

plea; that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.
 Case 1:06-cr-00210-GJQ           ECF No. 79, PageID.200           Filed 12/20/06       Page 2 of 2




               I therefore recommend that defendant's plea of guilty to Count 23 of the Superseding

Indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge. The clerk is directed to procure a transcript of the plea hearing for

review by the District Judge.



Date: December 20, 2006                                 /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d).




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